      Case 2:09-cr-00380-WBS Document 262 Filed 12/19/13 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10

11

12                                ----oo0oo----

13

14
     VALENTIN RAMIREZ-CARDINEZ,              CIV. NO. 2:13-2498 WBS
15
                                             CR.     NO. 2:09-0380 WBS
16                Petitioner,
                                             ORDER
17        v.

18   UNITED STATES OF AMERICA,

19                Respondent.

20

21
                                  ----oo0oo----
22

23             Petitioner Valentin Ramirez-Cardinez, a prisoner

24   proceeding pro se, has filed a motion to vacate, set aside, or

25   correct his sentence pursuant to 28 U.S.C. § 2255.          The United

26   States shall file any opposition to petitioner’s motion no later

27   than January 20, 2014.     Petitioner may then file a reply no later

28   than February 10, 2014.     The court will then take the motion
                                         1
      Case 2:09-cr-00380-WBS Document 262 Filed 12/19/13 Page 2 of 2


 1   under submission and inform the parties if oral argument or
 2   further proceedings are necessary.
 3              IT IS SO ORDERED.
 4   Dated:   December 18, 2013
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                         2
